Case 2:08-cr-00970-ODW Document 2 Filed 08/15/08 Page 1 of 2 PAgg ORIGINAL

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

CASE SUMMARY
$2

Case Number Us= G 0 7 G Defendant Number 1 ae 3

U.S.A. v. Elizabeth Ann Virgilio Year of Birth 1953 \ a = ;

{) Indictment I Information Investigative agency (FBI, DEA, etc.) ATF \ OF o? a
NOTE: All items are to be completed. Information not applicable or unknown shall be indicated ay, Hylan tn

ee ard -o o
OFFENSE/VENUE COMPLEX CASE | 295 =
a. Offense charged as a: U0 Petty Offense Are there 8 or more defendants init ifegerifinformation?
C1 Misdemeanor (I Minor Offense Felony 1 Yes* Xl No ee 2

b. Date of offense 01/24/2007 ms

 

c. County in which first offense occurred
Los Angeles
d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY
id Los Angeles
QO Orange

Oj Ventura

LO Santa Barbara
C1 Riverside U1 San Luis Obispo
San Bernardino 0) Other

Citation of offense 18 U.S.C. 924(a)(1)(A)

 

RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

filed and dismissed before trial? Xl No C1 Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED
CASE 07-317-ODW, 07-318-ODW

 

 

PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on:
Case Number
Charging

 

 

 

 

The complaint: C1 is still pending
CJ was dismissed on:

 

Will more than 12 days be required tp present government’s
evidence in the case-in-chief?
C1 Yes* i No

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF
COMPLEX CASE MUST BE FILED 2 BUSINESS DAYS BEFORE
THE ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Superseding Indictment/Information

This is the N/A superseding charge, i.e. 1%, 2°*.
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
0 is still pending before Judge/Magistrate Judge

 

U1 was previously dismissed on

Are there 8 or more defendants in the superseding case? .
O Yes* CNo

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
C1 Yes* ONo

Was a Notice of Complex Case filed on the Indictment or
Information?
U1 Yes O1No

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF
COMPLEX CASE MUST BE FILED 2 BUSINESS DAYS BEFORE
THE ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Is an interpreter required: ] Yes [No
IF YES, list language and/or dialect:

 

 

CR-72 (07/05)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

CASE SUMMARY
OTHER CUSTODY STATUS
CO Male &] Female Defendant is not in custody:
& U.S. Citizen 0 Alien a. Date and time of arrest on complaint:
Alias Name(s) b. Posted bond at complaint level on:
in the amount of $
Sian)
This defendant is charged in: All counts c. PSA Supervision: U Yes UNo
d. Is a Fugitive 0 Yes ONo

LJ Only counts:

 

e. Is on bail or release from another district:

 

O This defendant is designated as “High Risk” per

18 USC 3146(a)(2) by the U.S. Attorney. f. & Has not been arrested but will be notified by summons

to appear.
O This defendant is: designated as “Special Case” g. Warrant requested. U1 Yes LNo
per 18 USC 3166(b)(7). ,
Defendant is in custody:
Is defendant a juvenile? C Yes No a. Place of incarceration: I State C Federal
IF YES, should matter be sealed? C] Yes CO No b. Name of Institution:

 

c. If Federal: U.S. Marshal's Registration Number:

 

The area of substantive law that will be involved in this case ; -
d. O Solely on this charge. Date and time of arrest:

 

 

 

 

 

 

 

includes:
O financial institution fraud OF public corruption © e. On another conviction: O Yes CNo
C] government fraud CO tax offenses IF YES OD State 0 Federal 0 Writ of Issue
O environmental issues C1 mail/wire fraud f. Awaiting trial on other charges: 1 Yes O1No
Other: Firearms IF YES CO State CO Federal AND
Name of Court:

Date transferred to federal custody:

This person/proceeding is transferred from another district

pursuant to F.R.CrP. 20 21 40

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

 

 

 

 

Date 08/15/2008 <Q <D_

Signature of Assistant U.S. Attorney

 

 

Shawn J. Nelson

 

Print Name

 

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